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[N THE UNITED STATES DISTRlCT COURT Fil,&l} iii § -- '~‘““‘
FOR THE WESTERN DISTRICT OF TENNESSEE 05 law 97 EE-_H mg 014
WESTERN DIVISION " ""
»~ -:_r"ii“?`}"i "; "T _i_l¢.l-:JL-:p
UNITED STATES OF AMERICA,
Plaintit`t`,
VS. NO. 04-20173-Ma
JERRY SIMS,
Defendant.
ORDER

 

Before the Court is the Defendant’s May 24, 2005 Motion to Continue Self Surrender
Date and to Amend Recommendation for Place of Conlinement.

For good cause shown, the motion is granted and the Defendant is allowed up to and
including June 30, 2005 to self surrender as designated The Court directs the Clerk to amend
the Judgment to include the recommendation that Defendant be designated to serve his term of
imprisonment at a federal medical facility.

. /A\
Ir Is so oRDERED this h day ofMay, 2005.%
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20173 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

